Case 1:21-cv-01043-JMS-MJD Document 8 Filed 06/22/21 Page 1 of 1 PagelD #: 19
THE OFFICE OF THE INDIANAPOLIS IN 460
CLERK OF THE U.S. DISTRICT COURT LIMLOLAIN ARC ILL
105 U.S. COURTHOUSE
46 EAST OHIO STREET

INDIANAPOLIS, INDIANA 46204

   

OFFICIAL BUSINESS

FIle: (1:21-ev-1043 )
I Econ Eo CYNTHIA OLINGER VANOVER RECEIVED
JUN 29 9 107 W. Taylor St. i
021 Shelbyville IN 46176 H

U.S, DISTRICT CO
URT
NDIANAPOLIS, INDIANA

 
